                            UNITED   STATES DISTRICT COURT


                         WESTERN DISTRICT OF NORTH CAROLINA


  PETER J .   JARVINEN and
  COSTANCE L.     JARVINEN,

         Plaintiffs,

  V

                                                         l:18-cv-00014
  GOSHEN TIMBER FRAMES, INC.,
  BONNIE PICKARTZ, and DAVID
  PICKARTZ,


         Defendants.



                     PLAINTIFFS'     DECLARATION   IN   SUPPORT   OF
                            MOTION   FOR DEFAULT   JUDGMENT




       Peter J.   Jarvinen and Constance L.        Jarvinen declare as follows:


       1. We make this declaration based on personal knowledge and if called

to testify would testify to the matters asserted herein under oath.

       2. Attached hereto as Exhibit A is a copy of our contract with Goshen

Timber Frames,    Inc.

       3. Attached as Exhibit B is an itemized list of additional expenses

paid to complete and/or correct work inadequately or incompletely performed

by Defendant Goshen Timber Frames, Inc.

       4. Attached as Exhibit B-1 is a copy of charges in the amount of

$3,300.00 incurred for the architectural services of Scott Conklin

to investigate and define errors and omissions in the performance of

work   inadequately or       incompletely performed by            Defendant   Goshen

Timber Frames, Inc.        This charge is listed in Exhibit B.


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       5. Attached as Exhibit B-1(a) is a copy of Scott Conklin's August

29,    2016    DRAFT REPORT          identifying items       requiring remediation or

completion under our contract with Goshen Timber Frames,                      Inc.

       6. Attached as Exhibit B-2 is a repair detail for work performed

by carpenters Ben Jones and Mike Jones to complete and/or correct

work    inadequately           or   incompletely      performed   by   Defendant     Goshen

Timber Frames,            Inc. These charges totaling $41,020.00 are listed in

Exhibit B.


       7. Attached as Exhibit B-3 is an itemized list with supporting

invoices       of    materials      purchased    to    complete    and/or   correct    work

inadequately or            incompletely performed by Defendant Goshen Timber

Frames,       Inc.       and   additional    costs    paid   to   eliminate   black   mold

resulting from Goshen's having failed to fulfill                       its obligation to

erect the timber frame in a                 timely basis thereby leaving installed

floor joists and subflooring exposed to rain and snow for five months.

These charges totaling $21,704.19 are listed in Exhibit B.

       8. Attached as Exhibit B-4 is a composite comprised of an invoice

from Olde World Timer Frames and cancelled checks totaling $21,480.00

necessary           to    complete     and/or      correct    work     inadequately     or

incompletely performed by Defendant Goshen Timber Frames, Inc. These

charges are listed in Exhibit B.

       9. Attached as Exhibit B-4(a)               is an inspection report prepared

by John Brown of Olde World Timber Frames describing incomplete and

defective work performed by Goshen Timber Frames, Inc.

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       10.      Attached as Exhibit C is an accounting of attorneys'

fees and expenses totaling $19,848.35 incurred and payable to the

Van Winkle     Law   Firm   to   pursue     claims   and   remedies   for   breach of

contract     in this action.       Under the terms of our contract           (Exhibit

A)   with Goshen Timber      Frames,      Inc.,   attorneys'   fees   and costs   are

recoverable.      Goshen never responded to our demand for arbitration

as provided by the contract at Section 6. Miscellaneous.

       11.      Attached as Exhibit D is an estimate for $4,500.00 from

carpenter Ben Jones to shim and plumb walls due to faulty installation

by Goshen Timber Frames,         Inc.

       12.      All of the expenses described above have been or will be

incurred due    to   Goshen's    breach of our contract.


       We declare under penalty of perjury that the foregoing is true

and correct.


       Executed on May       o^/        , 2018.




     Constance L./^arvinen                        Peter J./^arvinen




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